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                                     RECORD NO. 13-4086

                                                In The

         United States Court Of Appeals
                                   For The Fourth Circuit

                  UNITED STATES OF AMERICA,
                                                                           Plaintiff – Appellee,


                                                     v.


                        DAVID MATTHEW HALLMAN,
                                                                           Defendant – Appellant.


          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          AT GREENSBORO

                                          ______________

                                    BRIEF OF APPELLANT
                                       ______________



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                                JURISDICTIONAL STATEMENT

                1.    Basis for Subject Matter Jurisdiction in District Court

                The Defendant is appealing from his criminal conviction and sentence

        imposed in the United States District Court for the Middle District of North

        Carolina, before the Honorable Catherine C. Eagles, United States District Judge.

        Jurisdiction was conferred upon the United States District Court pursuant to 18

        U.S.C. § 2251(a).

                2.    Basis for Jurisdiction in the Court of Appeals

                This Honorable Court has jurisdiction over appeals from final judgments of

        the district court under 28 U.S.C. § 1291, 18 U.S.C. § 3742(a) and Fed. R. App. P.

        4(b).

                3.    This Sentence is Appealable

                On August 15, 2012, the Defendant pled guilty to four counts of using a

        minor to engage in sexually explicit conduct for the purpose of producing child

        pornography, in violation of 18 U.S.C. § 2251(a). The Defendant was sentenced

        on January 4, 2013 and Judgment was imposed on January 17, 2013. Notice of

        appeal was filed on January 30, 2013. This appeal is from a final Order.




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                                STATEMENT OF THE ISSUES

              After an extensive review of the entire record in this case, Counsel for the

        Defendant has concluded that there are no meritorious grounds to be raised on his

        behalf. Although counsel has reached this conclusion, counsel does assert as

        alternative issues: (1) whether the Defendant’s guilty pleas were knowingly and

        voluntarily entered; (2) whether the appeal waiver contained in the Defendant’s

        plea agreement was valid; and (3) whether the Defendant’s sentence was

        reasonable. This Court must review the entire record in this case to determine

        whether there are any meritorious issues that counsel has overlooked.




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                                   STATEMENT OF THE CASE

              On January 27, 2012, the Defendant was charged in a ten-count Bill of

        Indictment, and charged in Counts One through Eight, with the offense of using a

        minor to engage in sexually explicit conduct for the purpose of producing child

        pornography, in violation of 18 U.S.C. § 2251(a). The Defendant pled guilty to

        Counts One, Two, Five and Seven of the Indictment pursuant to a written Plea

        Agreement on August 15, 2012.

              On January 4, 2013, the district court sentenced the Defendant as follows: in

        Count One, the Defendant received a sentence of 360 months imprisonment, to be

        followed by a lifetime term of supervised release; in Count Two, the Defendant

        received a sentence of 360 months imprisonment, which was to run consecutive to

        the terms of imprisonment imposed in Counts One, Five, and Seven, to be

        followed by a lifetime term of supervised release, which was to run concurrent

        with the terms of supervised release imposed in Counts One, Five, and Seven; in

        Count Five, the Defendant received a sentence of 360 months imprisonment, which

        was to run consecutive to the terms of imprisonment imposed in Counts One, Two,

        and Seven, to be followed by a lifetime term of supervised release, which was to

        run concurrent with the terms of supervised release imposed in Counts One, Two

        and Seven; and in Count Seven, the Defendant received a sentence of 360 months

        imprisonment, which was to run consecutive to the terms of imprisonment imposed



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        in Counts One, Two, and Five, to be followed by a lifetime term of supervised

        release, which was to run concurrent with the terms of supervised release imposed

        in Counts One, Two, and Five. The remaining counts of the Indictment against the

        Defendant were dismissed. Judgment was entered on January 17, 2013. Notice of

        appeal was filed on January 30, 2013.




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                                STATEMENT OF THE FACTS

              On August 16, 2011, the Defendant directed law enforcement to a wooded

        area in Cabarrus County, North Carolina, wherein he had previously disposed of 3

        hard drives containing hundreds of videos and thousands of images of child

        pornography, as defined by 18 U.S.C. § 2256. Pre-Sentence Report at ¶11. Some

        of the videos and images found depicted the Defendant and his co-defendant, Mary

        Freda Williams (hereinafter “Williams”) engaged in oral, anal, and vaginal

        intercourse with their own minor children, as well as other minor children under

        the age of twelve years or between the ages of twelve and sixteen years. Id. at ¶¶

        18-19.

              On January 27, 2012, the Defendant and Williams were indicted in a ten-

        count Indictment returned by a federal grand jury in the Middle District of North

        Carolina and the Defendant was charged in Counts One through Eight, with the

        offense of using a minor to engage in sexually explicit conduct for the purpose of

        producing child pornography, in violation of 18 U.S.C. § 2251(a). On August 15,

        2012, the Defendant pled guilty to Counts One, Two, Five and Seven of the

        Indictment pursuant to a written plea agreement.

              Following the Defendant’s guilty pleas, a Pre-Sentence Report (“PSR”) was

        prepared by the Probation Office. Since the offense involved the exploitation of

        more than one minor child, pursuant to U.S.S.G. § 2G2.1(d)(1), every victim,



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        whether named in the count of conviction or not, was treated as if contained in a

        separate count of conviction. Id. at ¶33. Thus, the PSR made the following

        offense level calculations:

               1.     Count One: The base offense level for using a minor to engage in

        sexually explicit conduct for the purpose of producing child pornography was a 32

        pursuant to U.S.S.G. § 2G2.1. Id. at ¶34. The Defendant received a 4-level

        upward adjustment because the offense involved a minor child who had not

        attained the age of twelve years pursuant to    U.S.S.G. § 2G2.1(b)(1)(A). Id. at

        ¶35. The Defendant received a 4-level upward adjustment because the offense

        involved the commission of a sexual act and conduct described in 18 U.S.C. §

        2241(a) or (b), pursuant to U.S.S.G. § 2G2.1(b)(2)(B). Id. at ¶36. The Defendant

        received a 4-level upward adjustment because the offense portrayed sadistic or

        masochistic conduct pursuant to U.S.S.G. § 2G2.1(b)(4).            Id. at ¶37.   The

        Defendant received a 2-level upward adjustment because the victim involved was

        in the custody, care or supervisory control of the Defendant pursuant to U.S.S.G. §

        2G2.1(b)(5). Id. at ¶38. And the Defendant received a 2-level upward adjustment

        because the victim was physically restrained during the course of conduct pursuant

        to U.S.S.G. § 3A1.3. Id. at ¶39. The adjusted offense level for Count One was 48.

        Id. at ¶42.




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               2.   Count Two: The base offense level for using a minor to engage in

        sexually explicit conduct for the purpose of producing child pornography was a 32

        pursuant to U.S.S.G. § 2G2.1. Id. at ¶43. The Defendant received a 2-level

        upward adjustment because the offense involved a minor child who had attained

        the age of twelve years but had not attained the age of sixteen years pursuant to

        U.S.S.G. § 2G2.1(b)(1)(B). Id. at ¶44. The Defendant received a 2-level upward

        adjustment because the offense involved the commission of a sexual act or sexual

        contact pursuant to U.S.S.G. § 2G2.1(b)(2)(A). Id. at ¶45. And the Defendant

        received a 2-level upward adjustment because the victim involved was in the

        custody, care or supervisory control of the Defendant pursuant to U.S.S.G. §

        2G2.1(b)(5). Id. a ¶46. The adjusted offense level for Count Two was 38. Id. at

        ¶50.

               3.   Count Five: The base offense level for using a minor to engage in

        sexually explicit conduct for the purpose of producing child pornography was a 32

        pursuant to U.S.S.G. § 2G2.1. Id. at ¶51. The Defendant received a 4-level

        upward adjustment because the offense involved a minor child who had not

        attained the age of twelve years pursuant to U.S.S.G. § 2G2.1(b)(1)(A). Id. at ¶52.

        The Defendant received a 2-level upward adjustment because the offense involved

        the commission of a sexual act or sexual contact pursuant to U.S.S.G. §

        2G2.1(b)(2)(A). Id. at ¶53. The Defendant received a 4-level upward adjustment



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        because the offense portrayed sadistic or masochistic conduct pursuant to U.S.S.G.

        § 2G2.1(b)(4).    Id. at ¶54.    And the Defendant received a 2-level upward

        adjustment because the victim involved was in the custody, care or supervisory

        control of the Defendant pursuant to U.S.S.G. § 2G2.1(b)(5). Id. at ¶55. The

        adjusted offense level for Count Five was 44. Id. at ¶59.

              4.    Count Seven: The base offense level for using a minor to engage in

        sexually explicit conduct for the purpose of producing child pornography was a 32

        pursuant to U.S.S.G. § 2G2.1. Id. at ¶60. The Defendant received a 4-level

        upward adjustment because the offense involved a minor child who had not

        attained the age of twelve years pursuant to U.S.S.G. § 2G2.1(b)(1)(A). Id. at ¶61.

        The Defendant received a 2-level upward adjustment because the offense involved

        the commission of a sexual act or sexual contact pursuant to U.S.S.G. §

        2G2.1(b)(2)(A). Id. at ¶62. The Defendant received a 4-level upward adjustment

        because the offense portrayed sadistic or masochistic conduct pursuant to U.S.S.G.

        § 2G2.1(b)(4). Id. at ¶63. The Defendant received a 2-level upward adjustment

        because the victim involved was in the custody, care or supervisory control of the

        Defendant pursuant to U.S.S.G. § 2G2.1(b)(5). Id. at ¶64. And the Defendant

        received a 2-level upward adjustment because the victim was physically restrained

        during the course of the offense pursuant to U.S.S.G. § 3A1.3. Id. at ¶65. The

        adjusted offense level for Count Seven was 46. Id. at ¶68.



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              5.    Child Victim 3 (CV-3): The base offense level for using a minor to

        engage in sexually explicit conduct for the purpose of producing child pornography

        was a 32 pursuant to U.S.S.G. § 2G2.1. Id. at ¶69. The Defendant received a 4-

        level upward adjustment because the offense involved a minor child who had not

        attained the age of twelve years pursuant to U.S.S.G. § 2G2.1(b)(1)(A). Id. at ¶70.

        The Defendant received a 4-level upward adjustment because the offense involved

        the commission of a sexual act or sexual contact pursuant to U.S.S.G. §

        2G2.1(b)(2)(A). Id. at ¶71. The Defendant received a 4-level upward adjustment

        because the offense portrayed sadistic or masochistic conduct pursuant to U.S.S.G.

        § 2G2.1(b)(4).    Id. at ¶72.   And the Defendant received a 2-level upward

        adjustment because the victim involved was in the custody, care or supervisory

        control of the Defendant pursuant to U.S.S.G. § 2G2.1(b)(5). Id. at ¶73. The

        adjusted offense level for Child Victim 3 was 44. Id. at ¶77.

              6.    Child Victim 4 (CV-4): The base offense level for using a minor to

        engage in sexually explicit conduct for the purpose of producing child pornography

        was a 32 pursuant to U.S.S.G. § 2G2.1. Id. at ¶78. The Defendant received a 4-

        level upward adjustment because the offense involved a minor child who had not

        attained the age of twelve years pursuant to U.S.S.G. § 2G2.1(b)(1)(A). Id. at ¶79.

        The Defendant received a 4-level upward adjustment because the offense involved

        the commission of a sexual act or sexual contact pursuant to U.S.S.G. §



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        2G2.1(b)(2)(A).    Id. at ¶80.    And the Defendant received a 2-level upward

        adjustment because the victim involved was in the custody, care or supervisory

        control of the Defendant pursuant to U.S.S.G. § 2G2.1(b)(5). Id. at ¶81. The

        adjusted offense level for Child Victim 4 was 40. Id. at ¶85.

               7.   Child Victim 6 (CV-6): The base offense level for using a minor to

        engage in sexually explicit conduct for the purpose of producing child pornography

        was a 32 pursuant to U.S.S.G. § 2G2.1. Id. at ¶86. The Defendant received a 4-

        level upward adjustment because the offense involved a minor child who had not

        attained the age of twelve years pursuant to U.S.S.G. § 2G2.1(b)(1)(A). Id. at ¶87.

        The Defendant received a 4-level upward adjustment because the offense involved

        the commission of a sexual act and conduct described in 18 U.S.C. § 2241(a) or (b)

        pursuant to U.S.S.G. § 2G2.1(b)(2)(B). Id. at ¶88. The Defendant received a 4-

        level upward adjustment because the offense portrayed sadistic or masochistic

        conduct pursuant to U.S.S.G. § 2G2.1(b)(4). Id. at ¶89. The Defendant received a

        2-level upward adjustment because the victim involved was in the custody, care or

        supervisory control of the Defendant pursuant to U.S.S.G. § 2G2.1(b)(5). Id. at

        ¶90. And the Defendant received a 2-level upward adjustment because the victim

        was physically restrained during the course of the offense pursuant to U.S.S.G. §

        3A1.3. Id. at ¶91. The adjusted offense level for Child Victim 6 was 48. Id. at

        ¶94.



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              8.    Child Victim 8 (CV-8): The base offense level for using a minor to

        engage in sexually explicit conduct for the purpose of producing child pornography

        was a 32 pursuant to U.S.S.G. § 2G2.1. Id. at ¶95. The Defendant received a 4-

        level upward adjustment because the offense involved a minor child who had not

        attained the age of twelve years pursuant to U.S.S.G. § 2G2.1(b)(1)(A). Id. at ¶96.

        The Defendant received a 2-level upward adjustment because the offense involved

        the commission of a sexual act or sexual contact pursuant to U.S.S.G. §

        2G2.1(b)(2)(A). Id. at ¶97. The Defendant received a 4-level upward adjustment

        because the offense portrayed sadistic or masochistic conduct pursuant to U.S.S.G.

        § 2G2.1(b)(4).    Id. at ¶98.    And the Defendant received a 2-level upward

        adjustment because the victim involved was in the custody, care or supervisory

        control of the Defendant pursuant to U.S.S.G. § 2G2.1(b)(5). Id. at ¶99. The

        adjusted offense level for Child Victim 8 was 44. Id. at ¶103.

              9.    Child Victim 9 (CV-9): The base offense level for using a minor to

        engage in sexually explicit conduct for the purpose of producing child pornography

        was a 32 pursuant to U.S.S.G. § 2G2.1. Id. at ¶104. The Defendant received a 4-

        level upward adjustment because the offense involved a minor child who had not

        attained the age of twelve years pursuant to U.S.S.G. § 2G2.1(b)(1)(A). Id. at

        ¶105. The Defendant received a 2-level upward adjustment because the offense

        involved the commission of a sexual act or sexual contact pursuant to U.S.S.G. §



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        2G2.1(b)(2)(A).    Id. at ¶106.    And the Defendant received a 2-level upward

        adjustment because the victim involved was in the custody, care or supervisory

        control of the Defendant pursuant to U.S.S.G. § 2G2.1(b)(5). Id. at ¶107. The

        adjusted offense level for Child Victim 9 was 40. Id. at ¶111.

              A combined adjusted offense level was determined using the multiple count

        adjustment, pursuant to U.S.S.G. § 3D1.4. Each count of conviction and each

        individual victim was considered as a separate group, pursuant to U.S.S.G. §

        2G2.1(d)(1). The following calculations were made:

                     Count #              Adjusted Offense Level               Units
                     1                    48                                   1.0
                     2                    38                                   0.0
                     5                    44                                   1.0
                     7                    46                                   1.0
                     CV3                  44                                   1.0
                     CV4                  40                                   0.5
                     CV6                  48                                   1.0
                     CV8                  44                                   1.0
                     CV9                  40                                   0.5
                                                                               ____
                     Total Number of Units:                                    7.0

        Id. at ¶112. The greater of the adjusted offense levels was 48. Id. at ¶113.

        Pursuant to U.S.S.G. § 3D1.4, there was a 5-level increase to this level because the

        total number of units exceeded 5. Id. at ¶114. Thus the combined adjusted offense

        level was calculated as 53. Id. at ¶115. However, pursuant to Chapter 5, Part A

        (comment n.2), the total combined offense level was determined to be 43, as an

        offense level of 43 or higher is treated as a 43. Id. at ¶118.

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              The Defendant had a total of 4 criminal history points. Id. at ¶140. An

        additional 2 criminal history points were added because the Defendant committed

        the instant offenses while on probation, resulting in a total criminal history score of

        6. Id. at ¶141. The Defendant was a criminal history category of III. Id. at ¶142.

        Based on a total combined offense level of 43 and a criminal history category of

        III, the Defendant’s advisory guideline range as to each count was life

        imprisonment. Id. at ¶189. However, the advisory guideline range for each count

        exceeded the statutorily authorized maximum sentence; therefore, the PSR

        determined that the advisory guideline range was 1,440 months, or four counts of

        conviction times the maximum statutory penalty of 360 months.                Id.   The

        Defendant did not object to the calculation of her advisory guideline range.

              At the sentencing hearing, the Defendant requested a downward variance to

        the statutory mandatory minimum sentence of 15 years imprisonment and

        concurrent terms of imprisonment on each count. Tr. Sentencing Hr’g, p. 54. The

        Defendant presented the testimony of two of his brothers, who testified about the

        horrific conditions that the Defendant grew up in while in his mother’s care – that

        the Defendant’s mother was an alcoholic and drug abuser; that the Defendant’s

        mother regularly showed pornographic movies in the home while the Defendant

        and his brothers were home; and that the Defendant’s mother was physically and

        sexually abusive towards the Defendant and allowed other men to sexually abuse



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        the Defendant and his brother. Id. at 8-11, and 15-18. The Defendant’s father also

        testified that the Defendant exhibited significant mental and emotional problems

        from a young age and that he had only recently become aware of the sexual abuse

        that the Defendant suffered while in the custody of his mother, because the

        Defendant had hid this from him.         Id. at 25-29.   The PSR also detailed the

        Defendant’s extensive medical history of bipolar disorder, obsessive compulsive

        disorder, schizophrenia, Attention-Deficit Disorder, and panic disorder.           Pre-

        Sentence Report at ¶¶166-173.

                 The Defendant also argued that his early cooperation, i.e., voluntarily

        leading investigators to the hard drives containing the child pornography, led to his

        and Williams’ arrests in this matter. Tr. Sentencing Hr’g, p. 52-53. The Defendant

        argued that without the hard drives, the Government would not have had the

        evidence to prosecute he and Williams. Id.

                 The district court considered the Defendant’s arguments for a variance

        sentence but declined to vary from the advisory guidelines. Specifically, the court

        noted:

                        “[t]he number of children who were abused, the nature of the
                 conduct that was recorded is just beyond words. The fact remains that
                 there are many victims who were raped by the defendant and his
                 codefendant, and they captured this on video, and that kind of conduct
                 is, I think, deserving of the most serious punishment that can be
                 imposed for this case because the need to recognize the seriousness of
                 the offense, to provide just punishment, and to protect the public from
                 further crimes.”

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        Id. at 58.   The district court imposed the maximum statutory punishment of 360

        months imprisonment for each count, and imposed the judgments in each count to

        run consecutive to one another. Id. The district court further imposed a term of

        lifetime supervised release. Id. at 59. The remaining counts of the Indictment

        against the Defendant were dismissed. Id.

              Judgment was entered on January 17, 2013. Notice of appeal was filed on

        January 30, 2013.




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                              SUMMARY OF THE ARGUMENT

              This brief is submitted to the Court pursuant to the decision in Anders v.

        California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967), as more fully

        explained in McCoy v. Wisconsin, 486 U.S. 429, 108 S. Ct. 1895, 100 L. Ed. 2d

        440 (1988) and Penson v. Ohio, 488 U.S. 75, 109 S. Ct. 346, 102 L. Ed. 2d 300

        (1988).

              Counsel for the Defendant has determined, after a conscientious examination

        of the whole record for the Defendant’s case, that the Defendant has no meritorious

        grounds for appeal. Nonetheless, this brief is submitted to fulfill the Defendant’s

        desire to pursue an appeal from his sentence.




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                                           ARGUMENT

            AFTER A THOROUGH AND EXTENSIVE SEARCH OF THE
        RECORD, COUNSEL FOR THE DEFENDANT HAS CONCLUDED THAT
        THERE ARE NO MERITORIOUS GROUNDS TO BE RAISED ON HIS
        BEHALF IN THIS APPEAL.

              Standard of Review

              The standard of review of an Anders submission is de novo of the entire

        record and all pertinent documents. Anders v. California, 386 U.S. 738, 87 S. Ct.

        1396, 18 L. Ed. 2d 493 (1967).

              Discussion

              After a thorough and extensive search of the record, Counsel for the

        Defendant has concluded that there are no meritorious grounds to be raised on his

        behalf in this appeal within the meaning of Anders. Although counsel has reached

        this conclusion, counsel does assert as alternative issues the following: (1) whether

        the Defendant’s guilty pleas were not knowingly and voluntarily entered; (2)

        whether the appeal waiver contained in the Defendant’s plea agreement was valid;

        and (3) whether the Defendant’s sentence was unreasonable.

              Rule 11 Colloquy

              Rule 11 of the Federal Rules of Criminal Procedure requires that the district

        court, prior to accepting a guilty plea, conduct a plea colloquy to inform the

        defendant of the charges to which he is pleading guilty, and to determine whether

        the defendant comprehends the nature of the charges, any mandatory minimum

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        penalty, the maximum statutory penalty, and the rights the defendant relinquishes

        by pleading guilty. Fed. R. Crim. P. 11(b)(1). The district court must also ensure

        that the defendant’s plea is voluntary and that there is a factual basis for the entry

        of the guilty plea. Fed. R. Crim. P. 11(b)(2), (3).

              In reviewing the district court’s compliance with Rule 11, this Court affords

        deference to the district court’s decision as to how to conduct the colloquy. United

        States v. DeFusco, 949 F.2d 114, 116 (4th Cir. 1991). Where a defendant does not

        move to withdraw his guilty plea in the district court, or raise any objections to the

        Rule 11 colloquy, this Court reviews the colloquy for plain error. United States v.

        Martinez, 277 F.3d 517, 524-26 (4th Cir. 2002).

              In this matter, the Defendant did not move to withdraw his guilty plea or

        raise any objections to the Rule 11 colloquy. However, upon a review of the

        transcript of the Rule 11 hearing, the Defendant initially did express some

        difficulty in understanding the nature of the proceedings. At one point during the

        colloquy, the Defendant stated:

                    “I’ve lost another significant amount of weight and I’m trying
              to understand all of this and – the best I can, and I’ve explained to [my
              lawyer], I can’t lie to you, I’m trying to understand everything, you
              know what I’m saying.”

        Tr. Rule 11 Hr’g, p. 7-8.      The Defendant stated at another point during the
        colloquy:




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                     “I don’t understand any of it. He’s explained thing to me. I
              mean, I understand a guilty plea, but I don’t understand if I’m here for
              a plea or I’m here for a plea arrangement. I mean, I don’t understand
              none of that.”

        Id. at 9. Based upon the confusion and lack of understanding of the nature of the

        proceedings expressed by the Defendant, the district court took a recess and

        allowed the Defendant to consult with his counsel. Id. at 9-10.

              After a 25 minute recess, the district court resumed the colloquy. Id. at 10.

        The district court began by summarizing the nature of the proceedings, i.e., that the

        Defendant was there to enter a plea of guilty, but that the Defendant could choose

        to plead not guilty and go to trial. Id. at 13-14. In response, the Defendant

        indicated that it was his desire to plead guilty. Id. at 15. The district court then

        went on to advise the Defendant of the charges he was pleading guilty to (Id. at 15-

        16); the essential elements that the Government must prove as to each count if the

        Defendant were to go to trial (Id. at 35-37); the minimum and maximum statutory

        penalties for each count (Id. at 26); and the constitutional rights that the Defendant

        would relinquish upon the acceptance of his guilty pleas (Id. at 34-35). The

        Defendant orally evidenced his understanding of each of the same. The Defendant

        also testified that no one made promises to him outside of those contained in the

        written plea agreement with the Government. Id. at 23-25.

              Additionally, a written factual basis was filed in the district court, which set

        forth facts to support the entry of the Defendant’s guilty pleas and contained the

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        essential elements of the offenses that the Defendant pled guilty to. The Defendant

        was provided notice of the written factual basis and did not object to it. Id. at 41.

              Lastly, the district made a finding on the record that the Defendant was

        competent to enter a guilty plea. The district court stated:

                     “It is a finding of the Court then that Mr. Hallman is competent
              and capable of entering an informed plea. I’ve read the competency
              evaluation, as I mentioned, I’ve heard from his attorney and I’ve had
              quite a long discussion with him this morning about his situation. He
              is obviously an intelligent person, finds himself in a difficult situation.
              I know the law is complicated and it can be confusing, especially the
              interaction between state and federal court and the federal sentencing
              rules.

                   So the fact that he’s had some questions about that I think just
              show he’s paying attention. And I do not have any concerns about his
              competence and I’m satisfied that he is able to assist in his defense
              and make his own decisions.

                    I will further find that he is aware of the nature of the charges
              and the consequence of a guilty plea, and his plea of guilty to these
              four counts is a knowing and voluntary plea.

        Id. at 40-41.

              Thus, it appears from the record, that despite the Defendant’s initial

        confusion or lack of understanding of the nature of the proceedings, that that the

        district court complied with Rule 11’s requirements and that the Defendant

        knowingly and voluntarily entered his guilty pleas.         However, the Defendant

        requests that this Court review the record in its entirety to determine if the district

        court complied with Rule 11.



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              Validity of Appeal Waiver

              The question of whether a defendant validly waived his right to appeal is

        reviewed by this court de novo. United States v. Manigan, 592 F.3d 621, 626 (4th

        Cir. 2010). A defendant may knowingly waive his right to appeal his sentence

        pursuant to a plea agreement. Id. at 627. An appeal waiver precludes the appeal of

        a specific issue if the appeal waiver is valid and the issue being appealed is within

        the scope of the appeal waiver. United States v. Blick, 408 F.3d 162, 168 (4th Cir.

        2005).

              An appeal waiver is valid if a defendant knowingly and intelligently waives

        his right to appeal. Manigan, 592 F. 3d at 627. To determine whether a defendant

        knowingly and intelligently waives his right to appeal, the court must look at the

        “totality of circumstances, including the experience and conduct of the accused, as

        well as the accused’s educational background and familiarity with the terms of the

        plea agreement.” United States v. General, 278 F.3d 389, 400 (4th Cir. 2002). In

        general, if a court fully questions the defendant about the appeal waiver during the

        Rule 11 colloquy, the waiver is valid and enforceable. United States v. Johnson,

        410 F.3d 137, 151 (4th Cir. 2005).

              The district court discussed the appeal waiver with the Defendant during the

        Rule 11 colloquy. The district court advised the Defendant that pursuant to his

        plea agreement with the Government, he was waiving his right to appeal his



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        conviction and sentence, except on the grounds of ineffective assistance of counsel,

        prosecutorial misconduct, a sentence in excess of the statutory minimum, or a

        sentence based upon an unconstitutional factor. Tr. Rule 11 Hr’g, p. 32-33. The

        Defendant indicated his understanding of the appeal waiver and the scope of the

        exceptions.

              Thus, from the record, it appears that the Defendant knowingly and

        intelligently waived his right to appeal his conviction and sentence, except in very

        narrow circumstances, and that the appellate waiver is valid. Moreover, it appears

        that the scope of the appellate waiver precludes an appeal on the bases of the

        validity of the Rule 11 hearing and of the reasonableness of the Defendant’s

        sentence. However, the Defendant requests that this Court review the record in its

        entirety to determine if the appeal waiver is valid and whether the appeal in this

        matter is precluded by said waiver.

              Reasonableness of Sentence

              A sentence is reviewed for its procedural and substantive reasonableness

        under an abuse of discretion standard. Gall v. United States, 552 U.S. 38, 51, 128

        S. Ct. 586, 169 L. Ed. 2d 445 (2007). The reasonableness of a sentence largely

        depends upon the specific facts of the case and the district court’s consideration

        and application of the § 3553(a) factors to those facts. United States v. Moreland,

        437 F.3d 424, 433 (4th Cir. 2006).        In considering whether a sentence is



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        unreasonable, the district court’s findings of fact are reviewed for clear error and

        its conclusions of law are reviewed de novo. Id.

              In determining whether a sentence is procedurally reasonable, this Court

        must determine whether the defendant’s advisory guidelines range was properly

        calculated, whether the district court failed to consider the arguments of the parties

        or the factors set out in 18 U.S.C. § 3553(a), whether the district court selected a

        sentence based upon “clearly erroneous facts,” or whether the district court failed

        to sufficiently explain the reasons for the imposition of its sentence. Id. at 49-50.

        “When rendering a sentence, the district court must make an individualized

        assessment based on the facts presented,” United States v. Carter, 564 F.3d 325,

        328 (4th Cir. 2009) (internal quotation marks and emphasis omitted), and must

        “adequately explain the chosen sentence to allow for meaningful appellate review

        and to promote the perception of fair sentencing.” Gall, 552 U.S. at 50.

              This Court reviews the substantive reasonableness of a sentence by assessing

        the totality of the circumstances, including the extent of any variance from the

        advisory Guidelines range. Id. at 51. A sentence within a correctly calculated

        advisory guidelines range is presumptively reasonable. United States v. Abu Ali,

        528 F.3d 210, 261 (4th Cir. 2008); See Rita v. United States, 551 U.S. 338, 347, 127

        S. Ct. 2456, 168 L. Ed. 2d 203 (2007) (holding that “a court of appeals may apply




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        a presumption of reasonableness to a district court sentence that reflects a proper

        application of the Sentencing Guidelines”).

              Procedural errors at sentencing, such as an improperly calculated advisory

        guidelines sentence, are “routinely subject to harmlessness review.” Puckett v.

        United States, 556 U.S. 129, 141, 129 S. Ct. 1423, 173 L. Ed. 2d 266 (2009). This

        Court has held that a sentencing error is harmless “if the resulting sentence was not

        longer than that to which [the defendant] would otherwise be subject.” United

        States v. Mehta, 594 F.3d. 277, 283 (4th Cir. 2010) (internal quotations omitted).

              In this matter, the Defendant did not object to the calculation of his advisory

        Guideline range. In calculating the total offense level for Counts One, Two, Five,

        and Seven, the PSR properly treated each count and individual victim separately.

        U.S.S.G. § 2G2.1(d). The PSR properly assessed specific offense characteristics

        enhancements and victim-based enhancements when applicable. The PSR also

        properly applied the multiple count adjustment to the greater of the adjusted

        offense levels, which resulted in a combined offense level of 53. Because the

        maximum offense level under the advisory guidelines is 43, the total offense level

        became a 43.

              Based upon a total offense level of 43 and a criminal history category of III,

        the Defendant’s advisory guideline range was lifetime imprisonment. However,

        because the statutory maximum punishment was less than the advisory guideline



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        range, the PSR determined that the advisory guidelines range then became 1,440

        months, or 4 times the maximum statutory penalty for each count of conviction.

        This is an incorrect guidelines calculation, in that an advisory guideline range of

        1,440 months still exceeds the maximum statutory penalty of 30 years, or 360

        months. Where the statutory maximum punishment exceeds the minimum of the

        applicable guideline range, the statutorily authorized maximum sentence becomes

        the guideline sentence. U.S.S.G. § 5G1.1(a).

              Although the advisory guideline sentence was calculated incorrectly, it

        nevertheless is an accurate statement of the maximum punishment that the

        Defendant could have received if the district court sentenced the Defendant to the

        maximum statutory punishment on each count and ran each judgment consecutive

        to one another. Since each count of conviction was treated separately and not

        grouped together, the district court was well within its discretion to impose

        concurrent or consecutive judgments. The PSR correctly noted the following:

                     “[i]n implementing a sentence on multiple counts of conviction,
              U.S.S.G. § 5G1.2(d) notes, ‘If the sentence imposed on the count
              carrying the highest statutory maximum is less than the total
              punishment, then the sentence imposed on one or more of the other
              counts shall run consecutively, but only to the extent necessary to
              produce a combined sentence equal to the total punishment. In all
              other respects, sentences on all counts shall run concurrently, except
              to the extent otherwise required by law.’”




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        PSR Sentencing Recommendation, (n.*). Thus, the Defendant was subject to

        consecutive judgments in the 4 counts of conviction1.

              Even though the district court relied on an incorrect advisory guideline

        sentence of 1,440 months, the imposition of four consecutive 360 month sentences

        is still substantively reasonable based on 3553(a) factors. From the record, it

        appears that the district court considered the 3553(a) arguments advanced by the

        Defendant – that the Defendant’s history of emotional and repeated sexual abuse,

        his history of mental illness, and his cooperation with law enforcement, warranted

        the court to vary down to the statutory mandatory minimum sentence in each count

        and to run the judgments concurrently.

              The district court declined to vary down to the statutory minimum

        mandatory penalty, and adequately explained its rationale in not doing so, citing as

        grounds the number of child victims who were raped by the Defendant and his

        codefendant and the fact that they recorded their crimes.          The district court

        announced on the record that it intended to sentence the Defendant to the most

        severe punishment under the law, because of the seriousness of the offense, the

        need to provide just punishment, and the need to protect the public from further

        crimes of the Defendant.     And regardless of the incorrect calculation of the

        1
         It should be noted that nothing in the record suggests that the district court
        believed that it was required to impose consecutive judgments in this matter or was
        bound to sentence the Defendant to 1,440 months imprisonment, as recommended
        by the PSR.

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        advisory guideline sentence, the district court clearly understood how to fashion

        the most severe punishment authorized by law when it imposed 4 consecutive 360-

        month sentences, and not 1,440 months imprisonment, as recommended in the

        PSR.

               It appears from the record that in sentencing the Defendant, the district court

        did not rely on any “clearly erroneous facts” and did engage in an individualized

        assessment as required by Gall when imposing its sentence in this matter. Gall,

        552 U.S. at 50. It further appears that the district court’s sentence was reasoned

        and based upon the totality of the circumstances. However, the Defendant requests

        that this Court review the record in its entirety to determine whether his sentence

        was procedurally and substantively reasonable.




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                                         CONCLUSION

              For the foregoing reasons, the Defendant, David Matthew Hallman,

        respectfully requests that this Court examine the record in its entirety and grant

        relief to him as appears warranted.

              Respectfully submitted this the 27th day of August, 2013.

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                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

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                                                            /s/ Stacey D. Rubain
                                                            Stacey D. Rubain

                                                            Counsel for Appellant
        Dated: August 27, 2013.
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                         CERTIFICATE OF FILING AND SERVICE

              I hereby certify that on August 27, 2013, I electronically filed the foregoing

        with the Clerk of Court using the CM/ECF System, which will send notice of such

        filing to the following registered CM/ECF users:

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              I further certify that one copy of the brief was mailed to the Defendant at his

        last known address of:

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              The necessary filing and service were performed in accordance with the

        instructions given to me by counsel in this case.

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